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Omar Qazz‘

Nevada Southern Detention Center
2190 E. Mesquite Ave.

Pahrurnp, Nevada

Zip Code Exempt (DMM 122.32)

 

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COUNSEL/PART|ES OF RECORD

 

 

NOV mg 2016

 

 

CLERK US DISTR\CT COURT
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IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF NEVADA

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UNITED STATES OF AMERICA,
Case no: 2:15-cr-00014-APG-VCF
Plaintift`,
Objections to Magistrate's Order - Granting
Doc.# 211 and Denying Substitution of Standby
Counsel
vs.
(Ex edited Trealment Re ueste
Omar Qazi,
Defendant.

 

 

Certification: This Objection is being Filed Timely.

Relief Sought,

COMES NOW, 0mar Qazi, In Propria Persona, by Special Appearance and through Myself, Hereby

filing this Objections to Magistrate's Order - Granting Doc.#211 and Denying Substitution of

Standby Counsel. For the reasons outlined in the attached Memorandum of Points and Authorities, I

humbly requests that this court enter an order rejecting the Magistrate Judge's Order and to subtitute

stand-by counsel.

Page 1

 

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Case 2:15-cr-OOOl4-APG-VCF Document 260 Filed 11/08/16 Page 2 of 11

Memorandum of Points and Authorities

At the recent hearing on 10/25/2016 and in my Obj ection to Doc. #211 (Motion to Clarify), I
had provided the Court With proof that Standby Counsel (Lance J. Hendron), was not in my interest
at all, would be an ineffective counsel and that it would be highly prejudicial if he is not substituted;
to wit:
L In Mr. Hendron's own Motion to Clarify, he seems to ask the Court to be advisory counsel, that
he does not want to be standby counsel, only wants to offer "technical help only" (which he does
not do either). He further mentions that "stand-by counsel poses ethical concerns for the
undersigned... it will also put the undersigned in a position of likely inefectiveness of counsel."
L At Calender Call on October ll, 2016, he told me that he will only be sitting next to me, will not
assist me whatsoever and will not take over mid-trial, even if I don't abide by the Courtroom rules.
He also told me that he will make sure that his secratary accepts any further phone calls. But on

October 12, 2016, I called his office a few times again and the calls were refused again (Mr.

 

Hendron 's first lie). (Note: The phone system here at CCA-Pahrump makes it that, when the phone
call is answered, the party answering has the option to either accept or refuse the call.)

1_§l I had also shown how Mr. Hendron and/or his secretary refuse my phone calls and that I have

 

never been able to contact him since he has been appointed as stand-by. Nonetheless, Judge
Ferenbach was very bias and prejudicial again at the hearing on 10/25/2016; he said that Mr.
Hendron does not need to contact me and that he does not need to know my case. M

I have also filed a Motion to Recuse for reasons like this. As to stand-by counsel, the U.S.
Supreme Court has said that their role should be limited to participation either outside the jury's
presence or "with the defendant's express or tacit consent." McKaskle v. Wiggins, 465 U.S. 168,
188, 104 S. Ct. 944, 956, 79 L. Ea'. 2D 122 (]984).

In Um°ted States v. Brown, 393 Fed. Appx. 686, 703 (20] O), the Court described how the

distict court had appointed stand-by counsel to advise a defendant "on legal procedural and

Page 2

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Case 2:15-cr-OOOl4-APG-VCF Document 260 Filed 11/08/16 Page 3 of 11

substantive matters."

In Lay v. Trammell, 2015 U.S. Dist. LEXIS 136793 (N.D. Okla., Oct. 7, 201 5), The trial
judge also stated that "standby counsel would be available to take the case over if necessary", and
that the defendant "had the right to withdraw his waiver of counsel at any time in the proceedings
and to have counsel appointed to represent him."

U.S. v. Gomez-Rosario, 418 F.3d 90, 100-02 (lst Cir. 2005) (court properly appointed standby
counsel to assist defendant in following court rules)

A judge may terminate self-representation if the defendant is not able or willing to abide by
the rules of procedure or courtroom protocol. See McKaskle v. Wiggins, 465 U.S. 168, ] 73 (1984).

Therefore, to my understanding and from the holdings of federal courts, standby counsel
should know my case so he could "be available to take the case over if necessary" and should
contact me to assist me in "following court rules," and to advise me "on legal procedural and
substantive matters." Any other conclusions would be inappropriate
§§g At the hearing on 10/25/2016, I had read to Judge Ferenbach, a letter dated October 12, 2016 sent
to me by Mr. Hendron, which mentioned the following "Enclosed please find copies of the
documents contained in the following dockets: 50, 179, 188, 202, 203 and 206." See Exhibit 1. (Mr.
Hendron's second lie) (Note: Mr. Hendron s_igrre_d_ this letter himself)

I also read to Judge Ferenbach, a CCA Detainee Request Form dated October 14, 2016,
which mentioned the following: "I received legal mail today and opened up the envelope in front of
Unit Manager, Mr. Titsworth. However, the legal mail from Attorney, Lance J. Hendron only
contained Docket 212. The letter mentioned that dockets 50, 179, 188, 202, 203 and 206 were
enclosed but none were. I am requesting that you please affirm your observation of these facts.
Thank you." Mr. Titsworth's response was "That is correct. When you opened your mail there was
only the 212 docket. On the letter you showed me it stated you should have been sent 179, 188, 202,

203 and 206 dockets. They were not in the packet sent." See Exhibit 2.

Page 3

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Case 2:15-cr-00014-APG-VCF Document 260 Filed 11/08/16 Page 4 of 11

§, At the hearing on 10/25/2016, Mr. Hendron also told me once again, that the phone issue is
resolved and that the secretary will answer now. However, when l called a couple times on
10/26/2016, the secretary, once again, refused both of my calls. (Mr. Hendron's third lie). This
seems to be a sick and disrespectful joke by Mr. Hendron that can not be tolerated and because of
these reasons, he can not be trusted whatsoever.
_6_= I also told Judge Ferenbach that Mr. Hendron was being "hostile" towards me in Court as well,
but he ignored this issue. Mr. Hendron specifically raised his tone in an offensive manner saying
"my secretary is going to send you those documents ok!! alright! !" Nonetheless, eveything that was
mentioned above was never even refined in Court by Mr. Hendron, which proves that it is all true.
L The Court also directed "Mr. Hendron to contact Ms. Waldo, former counsel of record, regarding
defendant's case file, exhibits, DNA expert and to contact the private investigator." See Doc.# 213.
The only thing that Mr. Hendron did, was contact the private investigator (Craig Retke) and told
him to visit me. I have not heard a single response about any of the other issues and I have not
received the pictures and exhibits that are in the possession of Ms. Waldo. Therefore, Mr. Hendron
is not properly following Court orders as well.
§_. Since, I can not get a hold of Mr. Hendron, I am also requesting the Court to also provide the
following:
1. All transcripts of proceedings held in this case, including the Transcripts mentioned in Doc.# 215.
2. Approved CJA Funds for legal copies and prints at CCA-Pahrump and for requested copies of
dockets from PACER.

l am requesting that these requests be granted since I do not have access to PACER from
CCA and I have had absolutely no communication from current stand-by other than the few
instances in Court. There are recent Dockets that the government has mentioned in their filings that
I can not even review; Therefore, I can not even review the governments legal arguments

Furthermore, due to all these flagrant issues, Judge Ferenbach is wasting the Courts time and

Page 4

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Case 2:15-cr-00014-APG-VCF Document 260 Filed 11/08/16 Page 5 of 11

resources by his frivolous order. He could have just simply substituted Mr. Hendron to another
stand-by counsel. I need a stand-by counsel that will be respectfill, professional and follow his
duties from the Court; Therefore, I hurnny request for a substitution of stand-by counsel.
CO_ll¢lll_Sin_l

I respectfully request that this Honorable Court enter an order rejecting the Magistrate
Judge's Order and to subtitute stand-by counsel for the reasons mentioned above. I declare under
penalty of perjury under the laws of the united states of America that all of the affirmations in this
entire document are true and correct to the best of my knowledge
Executed on November _i'_, 2016. Respectfully Submitted,

Omar Qazz', All Rights Reserved and Without Prejudice,

Signed: %

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Case 2:15-cr-00014-APG-VCF Document 260 Filed 11/08/16 Page 6 of 11

Exhibit 1

 

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Case 2:15-cr-00014-AP F Document 260 `|ed 11/08/16 Page 7 of 11

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endron

 

October 12, 2016

Omar Qazi #49760048

Nevada Southern Detention Center
2190 E. Mesquite Avenue
Pahrump, NV 89060

Re: United States of Ameriga vs. Omar Qazi

Case No. 2:15-cr-00014
Mr. Qazi:

Enclosed please find copies of the documents contained in the following dockets: 50, 179,

188, 202, 203 and 206.
Res ectfully Yours »
di f "’”
ce J. Hendron, Esq.

LJH:dk
Encl(s).

GARY L. GUYMoN, EsQ. | LANCE J. HENDRON, EsQ.
625 S. EIGHTH STREET, LAs VEGAS, NEVADA 89101
(T) 702-758-5858 (F) 702-387-0034
GARY@GHLAWNV.COM l LANCE@GHLAWNV.COM

Case 2:15-cr-00014-APG-VCF Document 260 Filed 11/08/16 Page 8 of 11

EXhibit 2

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Case 2:15-cr-00014-APG-VCF Document 260 Filed 11/08/16 Page 10 of 11

Certif'lcate of Service

I hereby certify that on November __1__ , 2016, I mailed my Memorandum to the court, to the
following:

Clerk of the Court

District Court

Lloyd D. George U.S. Courthouse
333 Las Vegas Blvd. South, Rm. 1334
Las Vegas, Nevada

Zip Code Exempt (DMM 122.32)

 

* Copy of receipt requested *

Omar Qazi

N.S.D.C.

2190 E. Mesquite Ave.

Pahrump, Nevada

Zip Code Exempt (DMM 122.32)

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